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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Welly Chandra, et al.
                                                         Plaintiff,
v.                                                                    Case No.:
                                                                      1:18−cv−07686
                                                                      Honorable Thomas M.
                                                                      Durkin
BOEING INTERNATIONAL SALES
CORPORATION, a Washington State Profit
Corporation, et al.
                                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Sunday, August 16, 2020:


       MINUTE entry before the Honorable Thomas M. Durkin:Motion by Movant
Agnes Tjandra for order amending that portion of previous orders regarding minors
blocked accounts [707] is granted. Enter order. Mailed notice(dl)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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